     Case: 1:10-cr-00405-JRA Doc #: 469 Filed: 04/05/11 1 of 2. PageID #: 3017




        ADAMS, J.

                                          UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF OHIO
                                                EASTERN DIVISION

        UNITED STATES OF AMERICA,                                )
                                                                 )      CASE NO. 1:10CR405
                          Plaintiff,                             )
                                                                 )
                 v.                                              )      JUDGE JOHN R. ADAMS
                                                                 )
        KENNETH COOPER,                                          )      ORDER
                                                                 )
                          Defendant.                             )
                                                                 )


        This matter appears before the Court on a motion for reconsideration filed by Defendant

Kenneth Cooper. For the second time, Cooper seeks reconsideration of this Court’s order

disqualifying attorney James Willis. The motion is DENIED.1

        On November 16, 2010, this Court disqualified Willis based upon a potential conflict due

to his representation of co-defendant Michael Young at the inception of this 24-defendant

indictment. In this second motion for reconsideration, counsel asserts that no potential conflict

now exists. Specifically, counsel contends that discovery has shown that Young could not

possibly be a witness against Cooper. Based upon that conclusion, counsel urges the Court to

permit Willis to resume his representation.

        The pending motion ignores several issues. First, the Government’s response indicates an

additional conflict that the Court was not informed about by Cooper’s motion. Willis is currently

representing Dorothy Brown, Cooper’s mother, in the forfeiture aspect of this case. In that

1 The Court notes that Cooper now has new counsel. However, for a clear record, the Court still resolves this
pending motion.
     Case: 1:10-cr-00405-JRA Doc #: 469 Filed: 04/05/11 2 of 2. PageID #: 3018




aspect, Willis filed a claim on Brown’s behalf in the amount of $102,570 for currency that was

seized from a safe. Cooper’s other counsel, Myron Watson, filed a claim on Cooper’s behalf for

those same funds. As the funds clearly cannot be awarded to both Cooper and Brown, there

certainly exists a very real potential for conflict between Willis representing Brown and Cooper

simultaneously. Furthermore, even assuming that those interests are aligned, it is troubling to the

Court that the motion for reconsideration did not identify this potential conflict.

       The    motion    for   reconsideration    also   did   nothing   to   address   the   Court’s

previously-expressed concerns. As the Court indicated in its prior motion, Willis addressed the

Court and informed the Court that he had discussed the idea of representing Cooper directly with

Young. Young denied that this discussion ever took place. This Court declined to resolve that

conflict. However, the Court also noted that Willis never informed the Court that he had met with

Cooper on numerous occasions while his representation of Young was ongoing. Indeed, the

motion for reconsideration only makes passing reference to these meetings and seeks to minimize

their existence. Coupling this omission of highly relevant information with Willis’ inability to

give a time frame to his discussions with Young about the potential conflict can lead the Court to

no other conclusion – Willis should not be permitted to return to this matter to represent Cooper.

Serious questions remain about Willis’ prior representations of Young and Cooper, and Young has

never executed a conflict waiver, instead denying that he was ever even informed about a potential

conflict. Accordingly, the second motion for reconsideration is DENIED.

       IT IS SO ORDERED.



April 5, 2011 ___________                       /s/ John R. Adams_____________________
Dated                                                   JUDGE JOHN R. ADAMS
                                                        United States District Judge
